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15
     Attorneys for Plaintiffs
16   WhatsApp LLC and Meta Platforms, Inc.
17                              UNITED STATES DISTRICT COURT
18
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
19
                                       OAKLAND DIVISION
20
                                        )         Case No. 4:19-cv-07123-PJH
21    WHATSAPP LLC and                  )
22    META PLATFORMS, INC.,             )         AMENDED PLAINTIFFS’ LIST OF
                                        )         DEPOSITION EXCERPTS AND OTHER
23                    Plaintiffs,       )         DISCOVERY RESPONSES
                                        )
24           v.                         )         Ctrm: 3
                                        )         Judge: Hon. Phyllis J. Hamilton
25    NSO GROUP TECHNOLOGIES LIMITED )            Trial Date: April 28, 2025
26    and Q CYBER TECHNOLOGIES LIMITED, )
                                        )
27                    Defendants.       )
                                        )
28                                      )
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 1          TO THE COURT, THE PARTIES AND COUNSEL OF RECORD:
 2          PLEASE TAKE NOTICE that Plaintiffs WhatsApp LLC and Meta Platforms, Inc. submit the
 3   following (a) amended list of deposition excerpts for witnesses who will not or may not testify in
 4   person and (b) list of discovery responses that will be offered at trial. The deposition excerpts
 5   also include excerpts of testimony of Defendants under Rule 30(b)(6). See Fed. R. Civ. P. 32(a)(3).
 6          (a)     List of Deposition Excerpts
 7    Witness                        Start Page     Start Line     End Page       End Line
 8    Bizinsky Gil, Sarit                 9             12            9             16
      Bizinsky Gil, Sarit                11              7            11            16
 9    Bizinsky Gil, Sarit                12             12            12            19
10    Bizinsky Gil, Sarit                16             11            16            22
      Bizinsky Gil, Sarit                17             18            17            21
11
      Bizinsky Gil, Sarit                42              4            42             6
12    Bizinsky Gil, Sarit                43              7            43            12
      Bizinsky Gil, Sarit                43             17            43            21
13
      Bizinsky Gil, Sarit                44              1            44            15
14    Bizinsky Gil, Sarit               106             21           106            22
      Bizinsky Gil, Sarit               106             25           107             1
15
      Bizinsky Gil, Sarit               107              3           107             4
16    Bizinsky Gil, Sarit               108             12           108            14
      Bizinsky Gil, Sarit               108             17           108            18
17
      Bizinsky Gil, Sarit               110             22           110            23
18    Bizinsky Gil, Sarit               111              1           111             1
      Bizinsky Gil, Sarit               111             16           111            17
19
      Bizinsky Gil, Sarit               111             19           112             1
20    Bizinsky Gil, Sarit               121             21           122             4
      Bizinsky Gil, Sarit               122              7           122            12
21
      Bizinsky Gil, Sarit               158             19           159            10
22    Bizinsky Gil, Sarit               174             21           175             2
23    Bizinsky Gil, Sarit               175              4           175             6
      Bizinsky Gil, Sarit               215             23           216             1
24    Bizinsky Gil, Sarit               216              4           216             8
25    Bizinsky Gil, Sarit               216             10           216            17
      Bizinsky Gil, Sarit               218              3           218            14
26    DiVittorio, Terrence P.            17              9            17            12
27    DiVittorio, Terrence P.            17             16            17            17
      DiVittorio, Terrence P.           238             20           239            19
28    DiVittorio, Terrence P.           239             22           240             7
                                                         1
     AM. PLAINTIFFS’ LIST OF DEPOSITION EXCERPTS AND OTHER DISCOVERY RESPONSES - CASE NO. 4:19-CV-07123-PJH
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 1    Witness                        Start Page     Start Line     End Page       End Line
      DiVittorio, Terrence P.           240             15           240            20
 2
      DiVittorio, Terrence P.           241              1           241            10
 3    DiVittorio, Terrence P.           293             14           293            17
      DiVittorio, Terrence P.           296             15           297             1
 4
      DiVittorio, Terrence P.           297              4           297             8
 5    Eshkar, Ramon                      7              20             7            23
      Eshkar, Ramon                      10             11            10            19
 6
      Eshkar, Ramon                      15             21            15            23
 7    Eshkar, Ramon                      16              8            16            13
 8    Eshkar, Ramon                      17             13            17            15
      Eshkar, Ramon                      18             13            18            17
 9    Eshkar, Ramon                      19             14            19            22
10    Eshkar, Ramon                      22              4            22             8
      Eshkar, Ramon                      27              8            27             9
11    Eshkar, Ramon                      27             11            27            11
12    Eshkar, Ramon                      57             19            58             1
      Eshkar, Ramon                      58             10            58            23
13    Eshkar, Ramon                      61             13            61            15
14    Eshkar, Ramon                      61             21            61            23
      Eshkar, Ramon                     104              8           104            18
15    Eshkar, Ramon                     104             20           104            22
16    Eshkar, Ramon                     186              2           186             9
      Eshkar, Ramon                     186             15           186            15
17
      Eshkar, Ramon                     186             17           186            18
18    Eshkar, Ramon                     186             24           186            25
      Eshkar, Ramon                     188             20           189             5
19
      Eshkar, Ramon                     189              8           189            12
20    Eshkar, Ramon                     194              5           194             9
      Eshkar, Ramon                     194             12           194            23
21
      Eshkar, Ramon                     195              1           195             6
22    Eshkar, Ramon                     195              9           195             9
      Eshkar, Ramon                     198             13           198            24
23
      Eshkar, Ramon                     199             15           200            15
24    Eshkar, Ramon                     200             19           200            20
      Eshkar, Ramon                     204              3           204             4
25
      Eshkar, Ramon                     204              8           204            20
26    Eshkar, Ramon                     205             10           205            18
      Eshkar, Ramon                     205             21           205            25
27
      Eshkar, Ramon                     208             21           209            15
28    Eshkar, Ramon                     212             13           212            23
                                                         2
     AM. PLAINTIFFS’ LIST OF DEPOSITION EXCERPTS AND OTHER DISCOVERY RESPONSES - CASE NO. 4:19-CV-07123-PJH
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 1    Witness                        Start Page     Start Line     End Page       End Line
      Eshkar, Ramon                     213             13           213            23
 2
      Eshkar, Ramon                     215             18           216            17
 3    Eshkar, Ramon                     223              2           223             8
      Eshkar, Ramon                     228             13           229             3
 4
      Eshkar, Ramon                     229              1           229             3
 5    Eshkar, Ramon                     229              6           229            10
      Eshkar, Ramon                     262              2           262             5
 6
      Eshkar, Ramon                     215             18           216            17
 7    Eshkar, Ramon                     262              7           262             9
 8    Eshkar, Ramon                     263             12           263            15
      Shaner, Joshua                      9             25            10             2
 9    Shaner, Joshua                     26             20            26            23
10    Shaner, Joshua                     39             24            40             6
      Shaner, Joshua                     76             13            76            15
11    Shaner, Joshua                     77              5            77            12
12    Shaner, Joshua                     82             24            83             4
      Shaner, Joshua                     84             18            85             6
13    Shaner, Joshua                    111             17           112             9
14    Shaner, Joshua                    112             19           113             3
      Shaner, Joshua                    113              7           113            23
15    Shaner, Joshua                    114              1           114             4
16    Shaner, Joshua                    114              7           115             3
      Shaner, Joshua                    116             11           117             4
17
      Shaner, Joshua                    117             12           117            15
18    Shaner, Joshua                    117             20           117            21
      Shaner, Joshua                    117             12           117            14
19
      Shaner, Joshua                    117             25           118             8
20    Shaner, Joshua                    118             11           118            12
      Shaner, Joshua                    119              4           119             8
21
      Shaner, Joshua                    119             11           119            13
22    Shaner, Joshua                    119             16           119            20
      Shaner, Joshua                    119             23           119            25
23
      Shaner, Joshua                    120              3           120             4
24    Shaner, Joshua                    120             19           120            23
      Shaner, Joshua                    121              5           121            11
25
      Shaner, Joshua                    122              6           122            11
26    Shaner, Joshua                    123              3           123             7
      Shaner, Joshua                    123             17           123            20
27
      Shaner, Joshua                    123             23           123            23
28    Shaner, Joshua                    126             23           127            23
                                                         3
     AM. PLAINTIFFS’ LIST OF DEPOSITION EXCERPTS AND OTHER DISCOVERY RESPONSES - CASE NO. 4:19-CV-07123-PJH
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 1    Witness                        Start Page     Start Line     End Page       End Line
      Shaner, Joshua                    128             14           129             5
 2
      Shaner, Joshua                    129             22           129            25
 3    Shaner, Joshua                    130              3           130             3
      Shaner, Joshua                    131              1           131             5
 4
      Shaner, Joshua                    137             20           138             2
 5    Shaner, Joshua                    138             13           138            14
      Shaner, Joshua                    138             16           139            11
 6
      Shaner, Joshua                    139             15           139            22
 7    Shaner, Joshua                    141             12           142             1
 8    Shaner, Joshua                    144             19           144            21
      Shaner, Joshua                    144             24           144            25
 9    Shaner, Joshua                    145              2           145            14
10    Shaner, Joshua                    145             17           145            22
      Shaner, Joshua                    146             22           147             2
11    Shaner, Joshua                    147             13           147            15
12    Shaner, Joshua                    147             17           147            18
      Shaner, Joshua                    150             17           151             1
13    Shaner, Joshua                    154             19           155             1
14    Shaner, Joshua                    155             16           155            22
      Shaner, Joshua                    156              8           156            11
15    Shaner, Joshua                    156             13           156            15
16    Shaner, Joshua                    156             20           157             4
      Shaner, Joshua                    159              4           159            10
17
      Shaner, Joshua                    159             14           160             5
18    Shaner, Joshua                    161              2           161            14
      Shaner, Joshua                    163             21           163            22
19
      Shaner, Joshua                    164              9           164            17
20    Shaner, Joshua                    164             25           165             4
      Shaner, Joshua                    166              6           166            15
21
      Shaner, Joshua                    166             18           166            19
22    Shaner, Joshua                    168             16           168            23
      Shaner, Joshua                    169              4           169            19
23
      Shaner, Joshua                    170             19           170            24
24    Shaner, Joshua                    171              2           171             8
      Shaner, Joshua                    172             20           172            23
25
      Shaner, Joshua                    173              2           173            11
26    Shaner, Joshua                    174              6           174             8
      Shaner, Joshua                    174             11           174            12
27
      Shaner, Joshua                    176              4           176             7
28    Shaner, Joshua                    176             10           176            14
                                                         4
     AM. PLAINTIFFS’ LIST OF DEPOSITION EXCERPTS AND OTHER DISCOVERY RESPONSES - CASE NO. 4:19-CV-07123-PJH
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 1    Witness                        Start Page     Start Line     End Page       End Line
      Shaner, Joshua                    228             11           228            14
 2
      Shaner, Joshua                    228             18           229             8
 3    Shaner, Joshua                    229             11           229            13
      Shaner, Joshua                    230              4           230            10
 4
      Shaner, Joshua                    230             18           230            25
 5    Shaner, Joshua                    231              3           231             4
      Shaner, Joshua                    231              6           231            23
 6
      Shaner, Joshua                    252              4           252             5
 7    Shaner, Joshua                    252              8           252            12
 8    Shaner, Joshua                    252             15           252            15
      Shaner, Joshua                    253              4           253             7
 9    Shaner, Joshua                    253             10           253            13
10    Shaner, Joshua                    253             16           253            21
      Shaner, Joshua                    253             24           253            25
11    Shaner, Joshua                    254              2           254             6
12    Shaner, Joshua                    254              9           254            10
      Shaner, Joshua                    254             12           254            15
13    Shaner, Joshua                    254             18           254            19
14    Shaner, Joshua                    255              5           255             8
      Shaner, Joshua                    255             11           255            12
15    Shaner, Joshua                    299             24           300             4
16    Shaner, Joshua                    300              5           300            19
      Shaner, Joshua                    318             17           318            21
17
      Shohat, Yaron                      10             20            10            23
18    Shohat, Yaron                      11             24            12            10
      Shohat, Yaron                      35              1            35             9
19
      Shohat, Yaron                      35             11            35            11
20    Shohat, Yaron                      39             25            40             5
      Shohat, Yaron                      40              7            40             9
21
      Shohat, Yaron                      40             11            40            15
22    Shohat, Yaron                      43             14            43            24
      Shohat, Yaron                      46             15            46            22
23
      Shohat, Yaron                      47              2            47             9
24    Shohat, Yaron                      55             22            56            12
      Shohat, Yaron                      56             14            56            18
25
      Shohat, Yaron                      56             20            56            23
26    Shohat, Yaron                      57             25            58             2
      Shohat, Yaron                      58              4            58            20
27
      Shohat, Yaron                      62              7            62            15
28    Shohat, Yaron                      62             17            62            17
                                                         5
     AM. PLAINTIFFS’ LIST OF DEPOSITION EXCERPTS AND OTHER DISCOVERY RESPONSES - CASE NO. 4:19-CV-07123-PJH
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 1    Witness                        Start Page     Start Line     End Page       End Line
      Shohat, Yaron                      68              1            68            16
 2
      Shohat, Yaron                      69              5            69             9
 3    Shohat, Yaron                      69             11            69            15
      Shohat, Yaron                      69             17            69            18
 4
      Shohat, Yaron                      76              8            76            11
 5    Shohat, Yaron                      77             21            77            25
      Shohat, Yaron                      83             13            83            23
 6
      Shohat, Yaron                      84              3            84             5
 7    Shohat, Yaron                      85             22            85            23
 8    Shohat, Yaron                      85             25            86             2
      Shohat, Yaron                      86             16            86            19
 9    Shohat, Yaron                      86             24            87             3
10    Shohat, Yaron                     100             18           101             5
      Shohat, Yaron                     101              7           101            16
11    Shohat, Yaron                     103              2           103            14
12    Shohat, Yaron                     103             16           104             4
      Shohat, Yaron                     104              6           104            17
13    Shohat, Yaron                     104             20           104            24
14    Shohat, Yaron                     111             21           112             2
      Shohat, Yaron                     112              4           112            11
15    Shohat, Yaron                     115             25           116             1
16    Shohat, Yaron                     116              3           116             8
      Shohat, Yaron                     116             10           116            11
17
      Shohat, Yaron                     117             18           118             3
18    Shohat, Yaron                     118              5           118             5
      Shohat, Yaron                     118             10           118            11
19
      Shohat, Yaron                     118             13           118            13
20    Shohat, Yaron                     136             14           136            21
      Shohat, Yaron                     143             18           143            18
21
      Shohat, Yaron                     143             20           143            21
22    Shohat, Yaron                     143             23           143            23
      Shohat, Yaron                     144             13           144            15
23
      Shohat, Yaron                     157              8           157            12
24    Shohat, Yaron                     181             10           181            12
      Shohat, Yaron                     181             15           181            15
25
      Shohat, Yaron                     184             13           184            15
26    Shohat, Yaron                     189              9           189            12
      Shohat, Yaron                     189             15           189            16
27
      Shohat, Yaron                     190             15           190            17
28    Shohat, Yaron                     190             19           190            21
                                                         6
     AM. PLAINTIFFS’ LIST OF DEPOSITION EXCERPTS AND OTHER DISCOVERY RESPONSES - CASE NO. 4:19-CV-07123-PJH
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 1    Witness                        Start Page     Start Line     End Page       End Line
      Shohat, Yaron                     191             19           191            22
 2
      Shohat, Yaron                     191             25           192             6
 3    Shohat, Yaron                     192              9           192            12
      Shohat, Yaron                     192             14           192            14
 4
      Gazneli, Tamir                      7              1             7             3
 5    Gazneli, Tamir                     23             23            24             3
      Gazneli, Tamir                     25              9            25            11
 6
      Gazneli, Tamir                     28              9            28            19
 7    Gazneli, Tamir                     29             21            30            10
 8    Gazneli, Tamir                     30             13            30            23
      Gazneli, Tamir                     31             14            31            19
 9    Gazneli, Tamir                     32              5            32            10
10    Gazneli, Tamir                     37             24            38             1
      Gazneli, Tamir                     39              1            39             7
11    Gazneli, Tamir                     39             10            39            14
12    Gazneli, Tamir                     39             16            40             4
      Gazneli, Tamir                     41              5            41             9
13    Gazneli, Tamir                     41             11            41            19
14    Gazneli, Tamir                     44             19            44            24
      Gazneli, Tamir                     47              7            47            15
15    Gazneli, Tamir                     50              4            50            15
16    Gazneli, Tamir                     52             16            52            18
      Gazneli, Tamir                     52             25            52            25
17
      Gazneli, Tamir                     53              2            53             7
18    Gazneli, Tamir                     53             13            53            16
      Gazneli, Tamir                     53             20            53            22
19
      Gazneli, Tamir                     54              4            54            12
20    Gazneli, Tamir                     55             18            56             5
      Gazneli, Tamir                     56              8            56            15
21
      Gazneli, Tamir                     57             11            57            14
22    Gazneli, Tamir                     57             17            57            23
      Gazneli, Tamir                     58              1            58             4
23
      Gazneli, Tamir                     58              7            58             9
24    Gazneli, Tamir                     58             17            58            23
      Gazneli, Tamir                     61             10            61            14
25
      Gazneli, Tamir                     63              3            63            13
26    Gazneli, Tamir                     67              6            67             9
      Gazneli, Tamir                     67             12            68             9
27
      Gazneli, Tamir                     69             22            70             4
28    Gazneli, Tamir                     70              7            70            15
                                                         7
     AM. PLAINTIFFS’ LIST OF DEPOSITION EXCERPTS AND OTHER DISCOVERY RESPONSES - CASE NO. 4:19-CV-07123-PJH
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 1    Witness                        Start Page     Start Line     End Page       End Line
      Gazneli, Tamir                     74              6            74            25
 2
      Gazneli, Tamir                     76              6            76            15
 3    Gazneli, Tamir                     76             18            76            22
      Gazneli, Tamir                     80              2            80             5
 4
      Gazneli, Tamir                     81              3            81             7
 5    Gazneli, Tamir                     81             16            81            19
      Gazneli, Tamir                     81             21            82             3
 6
      Gazneli, Tamir                     82              6            82             6
 7    Gazneli, Tamir                     82             20            82            23
 8    Gazneli, Tamir                     82             25            83             3
      Gazneli, Tamir                     83              9            83            11
 9    Gazneli, Tamir                     83             22            84             2
10    Gazneli, Tamir                     84              4            84            23
      Gazneli, Tamir                     87             19            88            15
11    Gazneli, Tamir                     88             18            88            18
12    Gazneli, Tamir                     89              2            89            20
      Gazneli, Tamir                     90             23            91             2
13    Gazneli, Tamir                     91              5            91             7
14    Gazneli, Tamir                     91             18            91            23
      Gazneli, Tamir                     92             10            92            16
15    Gazneli, Tamir                     92             19            93            12
16    Gazneli, Tamir                     97             14            98            15
      Gazneli, Tamir                     98             17            98            20
17
      Gazneli, Tamir                     98             22            99             9
18    Gazneli, Tamir                     99             12            99            20
      Gazneli, Tamir                    103              6           103            14
19
      Gazneli, Tamir                    105             22           106             2
20    Gazneli, Tamir                    106              5           106             8
      Gazneli, Tamir                    107              5           107            18
21
      Gazneli, Tamir                    108             20           111             8
22    Gazneli, Tamir                    111             11           111            14
      Gazneli, Tamir                    111             17           111            24
23
      Gazneli, Tamir                    112              3           112             9
24    Gazneli, Tamir                    112             12           112            14
      Gazneli, Tamir                    112             23           113            13
25
      Gazneli, Tamir                    113             16           113            17
26    Gazneli, Tamir                    113             20           113            25
      Gazneli, Tamir                    114              2           114             9
27
      Gazneli, Tamir                    114             13           114            20
28    Gazneli, Tamir                    114             23           115             3
                                                         8
     AM. PLAINTIFFS’ LIST OF DEPOSITION EXCERPTS AND OTHER DISCOVERY RESPONSES - CASE NO. 4:19-CV-07123-PJH
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 1    Witness                        Start Page     Start Line     End Page       End Line
      Gazneli, Tamir                    116              3           116             6
 2
      Gazneli, Tamir                    116              9           117            15
 3    Gazneli, Tamir                    118              2           118            14
      Gazneli, Tamir                    120             18           120            22
 4
      Gazneli, Tamir                    125             11           125            19
 5    Gazneli, Tamir                    126             13           127            21
      Gazneli, Tamir                    128             17           129             3
 6
      Gazneli, Tamir                    130             11           130            13
 7    Gazneli, Tamir                    130             17           130            24
 8    Gazneli, Tamir                    131              3           131             7
      Gazneli, Tamir                    131             11           131            17
 9    Gazneli, Tamir                    131             21           132            18
10    Gazneli, Tamir                    132             21           133            13
      Gazneli, Tamir                    133             16           133            23
11    Gazneli, Tamir                    137             24           139             9
12    Gazneli, Tamir                    139             13           139            21
      Gazneli, Tamir                    139             25           140             1
13    Gazneli, Tamir                    142             18           145            13
14    Gazneli, Tamir                    146             13           146            14
      Gazneli, Tamir                    146             16           146            25
15    Gazneli, Tamir                    147              3           147             9
16    Gazneli, Tamir                    152             24           153            17
      Gazneli, Tamir                    153             20           154             8
17
      Gazneli, Tamir                    154             17           155             3
18    Gazneli, Tamir                    155              6           155             9
      Gazneli, Tamir                    155             12           156             2
19
      Gazneli, Tamir                    157              7           157            13
20    Gazneli, Tamir                    157             16           158             1
      Gazneli, Tamir                    158             14           158            18
21
      Gazneli, Tamir                    158             21           158            22
22    Gazneli, Tamir                    159             12           159            13
      Gazneli, Tamir                    159             19           159            20
23
      Gazneli, Tamir                    159             24           160             6
24    Gazneli, Tamir                    163             20           163            22
      Gazneli, Tamir                    163             25           164             9
25
      Gazneli, Tamir                    183              4           183            13
26    Gazneli, Tamir                    183             16           184            13
      Gazneli, Tamir                    186             10           187             7
27
      Gazneli, Tamir                    187             10           188            25
28    Gazneli, Tamir                    189             25           190            15
                                                         9
     AM. PLAINTIFFS’ LIST OF DEPOSITION EXCERPTS AND OTHER DISCOVERY RESPONSES - CASE NO. 4:19-CV-07123-PJH
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 1    Witness                        Start Page     Start Line     End Page       End Line
      Gazneli, Tamir                    191              7           192            15
 2
      Gazneli, Tamir                    192             18           193             1
 3    Gazneli, Tamir                    195             19           196             1
      Gazneli, Tamir                    199              3           199            10
 4
      Gazneli, Tamir                    201             18           201            25
 5    Gazneli, Tamir                    205              4           205             7
      Gazneli, Tamir                    205              9           205            18
 6
      Gazneli, Tamir                    206             12           208             5
 7    Gazneli, Tamir                    208              8           208            12
 8    Gazneli, Tamir                    208             15           209             5
      Gazneli, Tamir                    209             22           210             2
 9    Gazneli, Tamir                    210              5           210            12
10    Gazneli, Tamir                    212              6           212            17
      Gazneli, Tamir                    212             20           213             3
11    Gazneli, Tamir                    214              5           214            15
12    Gazneli, Tamir                    214             18           214            18
      Gazneli, Tamir                    222              1           222            11
13    Gazneli, Tamir                    222             14           222            23
14    Gazneli, Tamir                    223              1           223             7
      Gazneli, Tamir                    223             10           223            16
15    Gazneli, Tamir                    223             19           224             7
16    Gazneli, Tamir                    224             10           224            14
      Gazneli, Tamir                    228             22           228            24
17
      Gazneli, Tamir                    229              2           229            23
18    Gazneli, Tamir                    230              1           230            18
      Gazneli, Tamir                    230             21           231            10
19
      Gazneli, Tamir                    231             13           231            25
20    Gazneli, Tamir                    235             19           235            22
      Gazneli, Tamir                    235             25           237            22
21
      Gazneli, Tamir                    243             10           245            12
22    Gazneli, Tamir                    245             15           247             1
      Gazneli, Tamir                    247              4           247            23
23
      Gazneli, Tamir                    248              1           248            13
24    Gazneli, Tamir                    248             16           249             3
      Gazneli, Tamir                    250              4           251             1
25
      Gazneli, Tamir                    251              4           251            24
26    Gazneli, Tamir                    252             11           253            18
      Gazneli, Tamir                    253             21           255             4
27
      Gazneli, Tamir                    255              7           255            12
28    Gazneli, Tamir                    255             15           255            17
                                                        10
     AM. PLAINTIFFS’ LIST OF DEPOSITION EXCERPTS AND OTHER DISCOVERY RESPONSES - CASE NO. 4:19-CV-07123-PJH
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 1    Witness                         Start Page    Start Line       End Page     End Line
      Gazneli, Tamir                     256            16             258          16
 2
      Gazneli, Tamir                     262             2             262          24
 3    Gazneli, Tamir                     263             2             263          19
      Gazneli, Tamir                     263            22             264           5
 4
      Gazneli, Tamir                     264             8             264           9
 5    Gazneli, Tamir                     264            12             264          19
      Gazneli, Tamir                     264            22             266           8
 6
      Gazneli, Tamir                     266            10             267           4
 7    Gazneli, Tamir                     269            19             269          23
 8    Gazneli, Tamir                     270             1             270          10
      Gazneli, Tamir                     270            13             270          24
 9    Gazneli, Tamir                     271             1             271           8
10    Gazneli, Tamir                     278            16             279           6
      Gazneli, Tamir                     289            22             290           8
11    Gazneli, Tamir                     290            11             290          24
12    Gazneli, Tamir                     299            21             300          23
      Gazneli, Tamir                     325              3            325            8
13

14          (b)     List of Discovery Responses

15                      i.   Defendants’ Responses and Objections to Plaintiffs’ First Set of Requests for

16                           Admissions (Apr. 17, 2023)

17                     ii.   Defendants’ Objections and Responses to Plaintiffs’ First Set of

18                           Interrogatories (May 10, 2023)

19                   iii.    Defendants’ Objections and Responses to Plaintiffs’ Second Set of

20                           Interrogatories (Oct. 30, 2023)

21                   iv.     Defendants’ Responses and Objections to Plaintiffs’ Second Requests for

22                           Admissions (Nov. 22, 2023)

23                     v.    Defendants’ Responses and Objections to Plaintiffs’ Third Set of Requests for

24                           Admission (Nos. 59–79) (Sep. 10, 2024)

25                   vi.     Defendants’ Supplemental Objections and Responses to Plaintiffs’ First Set of

26                           Interrogatories Nos. 1–3, 6–9 (Sep. 13, 2024)

27                   vii.    Defendants’ Objections and Responses to Plaintiffs’ Third Set of

28                           Interrogatories (Sep. 16, 2024)

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     AM. PLAINTIFFS’ LIST OF DEPOSITION EXCERPTS AND OTHER DISCOVERY RESPONSES - CASE NO. 4:19-CV-07123-PJH
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 1    Dated: April 21, 2025                         Respectfully Submitted,

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     AM. PLAINTIFFS’ LIST OF DEPOSITION EXCERPTS AND OTHER DISCOVERY RESPONSES - CASE NO. 4:19-CV-07123-PJH
